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                            EXHIBIT 4
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  1                    UNITED STATES DISTRICT COURT

  2                             CENTRAL DISTRICT

  3

  4

  5    _____________________________________________________

  6    ADDE ISSAGHOLI, an individual,

  7               Plaintiff,                              Case No.:

  8                                v.                     2:19-cv-07616-MWF(FFMx)

  9    MCLAREN AUTOMOTIVE, INC., a

 10    Delaware Corporation; and DOES 1

 11    through 20, inclusive,

 12               Defendants.

 13    _____________________________________________________

 14

 15            VIDEOTAPED REMOTE ZOOM VIDEOCONFERENCE

 16                  DEPOSITION OF MASSIS BEDROSSIAN

 17                 Taken Thursday, September 3, 2020

 18           Scheduled for 10:00 Pacific Standard Time

 19

 20

 21

 22

 23    Job No.:     CA 4210369

 24    REPORTED BY:     DANA S. ANDERSON-LINNELL

 25    Pages 1 - 70

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  1          Q.     Do you know an individual by the name of
  2          Ms. Christine Estepanian?
  3          A.     Christine Estepanian, yes.
  4          Q.     And do you do any work for
  5          Ms. Estephanian?
  6          A.     I do file her personal tax returns.
  7          Q.     Is Ms. Estepanian an officer -- or is
  8          Ms. Estepanian an officer of
  9          Merexmortals, Inc.?
 10          A.     To my understanding, yes.
 11          Q.     And what is her position?
 12          A.     We need to file a statement of information
 13          to clarify that.         As I understand, she's a
 14          50/50 partner with Mr. Adde Issagholi.
 15          Q.     And when you say she's a 50/50 partner,
 16          that would mean that she owns 50 percent of the
 17          shares in Merexmortals, is that correct?
 18          A.     Correct.
 19          Q.     And that is not currently reflected on the
 20          statement of information filed with the
 21          Secretary of State?
 22          A.     As of today, it's not.
 23          Q.     Do you know when she became a 50/50
 24          partner of Merexmortals?
 25                         MR. RUBEN:        And I object.     This

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  1                         REPORTER'S CERTIFICATE
  2
       STATE OF MINNESOTA            )
  3                                  ) ss.
       COUNTY OF HENNEPIN            )
  4
  5           I hereby certify that I reported the
       deposition of Massis Bedrossian on September 3,
  6    2020, in Maple Grove, Minnesota, and that the
       witness was by me first duly sworn to tell the
  7    whole truth;
  8           That the testimony was transcribed by me
       and is a true record of the testimony of the
  9    witness;
 10           That the cost of the original has been
       charged to the party who noticed the deposition,
 11    and that all parties who ordered copies have been
       charged at the same rate for such copies;
 12
              That I am not a relative or employee or
 13    attorney or counsel of any of the parties, or a
       relative or employee of such attorney or counsel;
 14
              That I am not financially interested in the
 15    action and have no contract with the parties,
       attorneys, or persons with an interest in the
 16    action that affects or has a substantial tendency
       to affect my impartiality;
 17
              That the right to read and sign the
 18    deposition transcript by the witness was waived.
 19
              WITNESS MY HAND AND SEAL THIS 9th day of
 20    September, 2020.
 21
 22
 23    <%17932,Signature%>
 24    Dana S. Anderson-Linnell
       Notary Public, Hennepin County, MN
 25    My commission expires 1/31/2025

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